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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13   UNITED STATES OF AMERICA,                        ) CASE NO. 4:24-CR-00414 JSW
                                                      )
14           Plaintiff,                               ) JOINT STATUS REPORT AND STIPULATION TO
                                                      ) CONTINUE HEARING; [PROPOSED] ORDER
15      v.                                            )
                                                      )
16   CASEY ROBERT GOONAN,                             )
                                                      )
17           Defendant.                               )
                                                      )
18                                                    )
                                                      )
19

20           This matter is set for a status conference hearing on September 17, 2024, and the Court ordered
21 the parties to submit a joint status report by September 10, 2024. See ECF No. 16. The parties hereby

22 respectfully submit this joint status report.

23           On July 23, 2024, a federal grand jury returned an indictment charging Defendant Goonan with
24 violations of 18 U.S.C. § 844(f)(1) (damage and destruction by fire or explosive of property belonging

25 to institution receiving federal financial assistance); 18 U.S.C. § 844(i) (damage and destruction by fire

26 or explosive of property used in or affecting interstate commerce); and 26 U.S.C. § 5861(d) (possession
27 of an unregistered firearm).

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     JOINT STATUS REPORT                             1
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 1            The United States has recently made an initial production of more than 22 gigabytes of

 2 discovery, consisting largely of surveillance footage and applications for several state and federal search

 3 warrants. This discovery will take substantial time for defense counsel to review.

 4            The three charged counts are all related to a single incident—the firebombing of a police vehicle

 5 on June 1, 2024. The United States continues to actively investigate the defendant’s role in at least four

 6 other arsons; as that investigation progresses, it may yield both additional charges and the production of

 7 additional discovery.

 8            In light of the foregoing information and considering the schedules of counsel and the Court, the

 9 parties stipulate and agree, with permission of the Court, to set a new status conference hearing in this

10 case on November 5, 2024 at 1:00 p.m. or at another date and time convenient to the Court and the

11 parties.

12            The parties further stipulate and agree that period between September 17, 2024 and November 5,

13 2024 should be excluded from the period of time within which the defendant’s trial must commence

14 pursuant to the Speedy Trial Act in order to allow counsel for the defendant sufficient time to effectively

15 prepare and for continuity of counsel, taking into account the exercise of due diligence.

16

17 DATED: September 10, 2024                                      Respectfully submitted,

18                                                                ISMAIL J. RAMSEY
                                                                  United States Attorney
19
                                                                         /s/
20                                                                NIKHIL BHAGAT
                                                                  Assistant United States Attorney
21
                                                                  LAW OFFICE OF SARAH POTTER
22
                                                                        /s/
23                                                                SARAH POTTER
                                                                  Counsel for Defendant Casey Robert
24
                                                                  Goonan
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     JOINT STATUS REPORT                              2
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 1
                                              [PROPOSED] ORDER
 2
              Having considered the joint status report submitted in the above-entitled case and for good cause
 3
     shown,
 4
              The Court finds that the ends of justice served by excluding the time from September 17, 2024,
 5
     through November 5, 2024 from computation under the Speedy Trial Act outweigh the best interests of
 6
     the public and the defendant in a speedy trial; and
 7
              IT IS HEREBY ORDERED that the status conference currently scheduled for September 17,
 8
     2024 at 1:00 p.m. is continued to November 5, 2024 at 1:00 p.m.; and
 9
              IT IS FURTHER ORDERED the time from September 17, 2024 through and including
10
     November 5, 2024, is excluded from the period of time within which the defendant’s trial must
11
     commence pursuant to the Speedy Trial Act because failing to do so would unreasonably deny the
12
     defendant continuity of counsel and would unreasonably deny the defendant and the government
13
     continuity of counsel, taking into account the exercise of due diligence. See 18 U.S.C. §§
14
     3161(h)(7)(A), 3161(h)(7)(B)(iv).
15
              PURSUANT TO STIPULATION, IT IS SO ORDERED.
16

17
     DATED:                                                       _______________________________
18                                                                HON. JEFFREY S. WHITE
                                                                  Senior United States District Judge
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     JOINT STATUS REPORT                              3
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